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 5
                                    UNITED STATES DISTRICT COURT
 6                                 WESTERN DISTRICT OF WASHINGTON
                                             AT TACOMA
 7
      UNITED STATES OF AMERICA,
 8
                      Plaintiff,
 9                                                                Case No. CR05-5264FDB
              v.
10                                                                ORDER DENYING AS PREMATURE
      ROMULO BAUTISTA-OCAMPO,                                     DEFENDANTS’ MOTION FOR
11    GUSTAVO MIRAMONTES-PONCE and                                INFORMATION RE:
      JESUS FLORES-MANZO,                                         CONFIDENTIAL INFORMANTS
12
                      Defendant.
13

14          Before the Court is the motion of Defendant Gustavo Miramontes-Ponce to disclose the

15   identity and other information about the Government’s confidential source (CI). Defendants Romulo

16   Bautista-Ocampo and Jesus Flores-Manzo have joined in the motion. The Court, having reviewed

17   the motion, response, and balance of the record, finds, for the reasons set forth herein, that the

18   motion should be denied as premature.

19                                                      I.

20          Defendant moves the Court to compel the Government to disclose various information

21   relating to the CI, including the CI’s criminal record, proof of payment and other benefits including

22   tax returns, investigation and “pedigree” records, mental health and drug and alcohol records, pre-

23   sentence and probation reports, and any other information bearing on the CI’s credibility or

24   reliability. Defendant claims he is entitled to this information because the CI arranged and

25   participated in several meetings with Defendants, reported on Defendants’ activities throughout the

26   ORDER - 1
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 1   investigation, claimed that Defendant Ponce made incriminating statements, and was present when

 2   Defendant Ponce was arrested. The Government does not dispute that most of the information

 3   requested by Defendants is Brady/Giglio material, which it is required to disclose and which it

 4   intends to provide to Defendants at least one week prior to trial.

 5                                                       II.

 6           Defendant has failed to provide the Court with any basis for concluding that an earlier

 7   disclosure is essential to a fair trial and that his need for an earlier disclosure is not outweighed by the

 8   Government’s interest in protecting the CI and preventing the loss of the use of its CI. However,

 9   the Government shall make complete discovery1 at the earliest time practicable to insure that the

10   defense is given adequate time to prepare for trial.

11           ACCORDINGLY,

12           IT IS ORDERED:

13           (1)     Defendant’s motion for information re: confidential informants (Dkt. # 32) is

14                   DENIED.

15

16           DATED this 18th day of May, 2005.

17

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19
                                                     A
                                                     FRANKLIN D. BURGESS
                                                     UNITED STATES DISTRICT JUDGE
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             1
23            The Government disputes that Defendants are entitled to information such as the CI’s social
     security number, non-conviction data, and tax returns, unless this information falls within the
24   Brady/Giglio line of reasoning. As noted above, disclosure of all Brady/Giglio material should be
     made as soon as possible and, if issues such as this remain after disclosure, the Court will take them
25   up prior to trial.
26   ORDER - 2
